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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:15−cr−00075
                                                        Honorable Virginia M. Kendall
Navinder Singh Sarao
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 28, 2019:


       MINUTE entry before the Honorable Virginia M. Kendall as to Navinder Singh
Sarao. On the Court's own Motion and by agreement of parties, Sentencing reset for
1/28/2020 at 10:00 AM. Sentencing position papers due on or before 1/14/2020.
Objections, if any, shall be filed on or before 1/21/2020. Mailed notice (lk, )




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